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              State of Tennessee v. Jermaine Antwoine CraytonE2018-07167-CCA-R3-CDAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge Tom GreenholtzThe Defendant, Jermaine Antwoine Crayton, pleaded guilty to several drug offenses in 2015 and to another drug offense in 2016. The trial court placed the Defendant on probation, and the Defendant’s probation officer filed an affidavit alleging that he violated his probation. After a hearing, the trial court revoked the Defendant’s probation and ordered that he serve the balance of his sentence in confinement. On appeal the Defendant contends that the trial court erred when it ordered that he serve the balance of his sentence in confinement. After review, we affirm the trial court’s judgment.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              06/10/19            
                      
                          
                      
                          
                  
                        
                      
              Denver Joe McMath, Jr. v. State of TennesseeM2017-02426-CCA-R3-PCAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Monte WatkinsThe petitioner, Denver Joe McMath, Jr., appeals the denial of his post-conviction petition, arguing the post-conviction court erred in finding he received effective assistance of counsel at trial and on appeal. After our review of the record, briefs, and applicable law, we affirm the denial of the petition.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              06/10/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Raymond Dana CanterM2018-01183-CCA-R3-CDAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Suzanne Lockert-MashThe defendant, Raymond Dana Canter, entered an open plea to ten counts of felony theft, one count of failure to appear, one count of simple possession of marijuana, one count of aggravated burglary, one count of felony vandalism, and two counts of evading arrest. The trial court sentenced the defendant to an effective sentence of thirteen years of incarceration in the Tennessee Department of Correction. On appeal, the defendant challenges the trial court’s imposition of consecutive sentencing. Upon our review of the record, arguments of the parties, and pertinent authorities, we affirm the judgments of the trial court. However, we remand the case for a corrected judgment in 2016-CR-512.            
                      
              Dickson County            
                      
              Court of Criminal Appeals             
                      
              06/10/19            
                      
                          
                      
                          
                  
                        
                      
              Stanley Williams v. State of TennesseeW2018-01269-CCA-R3-PCAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge James M. LammeyThe Petitioner, Stanley Williams, was denied post-conviction relief for his convictions for first degree premeditated murder, attempted first degree premeditated murder, and employing a firearm in the commission of a dangerous felony and his aggregate sentence of life in prison plus thirty years. On appeal, the Petitioner alleges that trial counsel was ineffective for failing to request a severance of his trial from his co-defendant’s trial, failing to communicate and investigate, failing to challenge the chain of custody of certain evidence, and failing to cross-examine witnesses. He also requests relief pursuant to the writ of error coram nobis based on recanted testimony. After a thorough review of the record, we discern no error and affirm the post-conviction court’s judgment.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              06/07/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Sangria Venturia Baker, Jr.W2018-00732-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Donald H. AllenDefendant, Sangria Venturia Baker, Jr., was convicted of two counts of aggravated assault, one count of felony evading arrest, one count of possession of an imitation controlled substance with intent to sell or deliver, one merged count of possession of marijuana with intent to sell or deliver, one count of possession of drug paraphernalia, and one count of resisting arrest. On appeal, Defendant challenges the sufficiency of the evidence supporting his convictions and argues that the trial court erred by denying his motion in limine to exclude mention of the subject matter of the warrant the officers were serving at the time of this incident and by denying his request for a jury instruction on misdemeanor reckless endangerment as a lesser-included offense of aggravated assault. Because the evidence was insufficient to establish that the white powder substance found in the back of Defendant’s vehicle met the statutory definition of an imitation controlled substance, we reverse and vacate Defendant’s conviction for possession of an imitation controlled substance with intent to sell or deliver. In all other respects, we affirm the judgments of the trial court and remand the case for the imposition of a sentence in Count 6, which merged into Count 7.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              06/07/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Justin Patrick KiserE2018-00696-CCA-R3-CDAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge Steven W. SwordThe defendant, Justin Patrick Kiser, appeals his Knox County Criminal Court jury convictions of facilitation of aggravated burglary and theft of property valued at $500 or less, arguing that the trial court erred by permitting the State’s fingerprint expert to testify that another examiner had verified his conclusions; by admitting into evidence a document showing the work performed by the second, non-testifying analyst; and by denying his motion for a mistrial after the prosecutor relied on the verification of the nontestifying analyst during closing argument. He also claims that the evidence was insufficient to support his conviction of facilitation of aggravated burglary because the State failed to establish that he did not intend to promote or assist in the burglary or to benefit from its proceeds and that the trial court erred by denying his bid for judicial diversion. Discerning no reversible error, we affirm the judgments of the trial court.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              06/06/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Tairon SlappeyE201801380-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge G. Scott GreenTairon Slappey, Defendant, pled guilty to one count of aggravated assault and one count of domestic assault with a recommendation from the State that he receive concurrent sentences of three years as a Range I offender for aggravated assault and eleven months and twenty-nine days for domestic assault. The manner and method of service were to be determined by the trial court. Following a sentencing hearing, the trial court ordered Defendant to serve three years in the Tennessee Department of Correction. After a thorough review of the record, we affirm the judgments of the trial court.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              06/06/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Sterling PanchikalW2018-00826-CCA-R3-CDAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge Chris CraftThe Defendant, Sterling Panchikal, caused a traffic accident which resulted in one death and several injuries. She entered guilty pleas to reckless homicide, three counts of reckless endangerment, and possession of marijuana. The Defendant sought but was denied judicial diversion for her offenses, and she was sentenced to six years of probation, with thirty days to be served incarcerated. On appeal, she argues that the trial court was mistaken about the nature of one of the offenses to which she was pleading guilty and that the trial court erred in denying diversion. Because the record reflects that the trial court believed that the Defendant was pleading guilty to vehicular homicide as a result of reckless conduct rather than reckless homicide, we vacate the judgments and the denial of diversion, and we remand the case to the trial court for further proceedings.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              06/05/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Darrell Partin and Chanda PartinM2017-02381-CCA-R3-CDAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge Gary McKenzieThe Defendants, Darrell Partin and Chanda Partin, were indicted for theft in connection with Mr. Partin’s employment at Tennessee Master Restoration (“TMR”), and the case proceeded to a bench trial. During trial, the Defendants discovered that the State had failed to produce documents in the possession of TMR which supported the Defendants’ theory of the case. After a continuance, the trial court concluded that the failure to produce the documents was a violation of Tennessee Rule of Criminal Procedure 16 and of the duty to disclose exculpatory material under Brady v. Maryland, 373 U.S. 83 (1963). The trial court then granted a mistrial and dismissed the charges with prejudice based on the Rule 16 violation. The State appeals. After a thorough review of the record, we conclude that the trial court abused its discretion in dismissing the charges, and we remand for further proceedings.            
                      
              Putnam County            
                      
              Court of Criminal Appeals             
                      
              06/05/19            
                      
                          
                      
                          
                  
                        
                      
              Marcus Ward Strong v. State of TennesseeE2018-00286-CCA-R3-PCAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge Alex E. PearsonThe Petitioner, Marcus Ward Strong, appeals the denial of his petition for post-conviction relief, arguing that he received ineffective assistance of counsel and that his guilty pleas were unknowing and involuntary. We affirm the judgment of the post-conviction court.            
                      
              Greene County            
                      
              Court of Criminal Appeals             
                      
              06/05/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Troy JonesM2018-00200-CCA-R3-CDAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge Mark J. FishburnThe Defendant-Appellant, Troy Jones, was convicted by a Davidson County jury of three counts of aggravated burglary and one count of sexual battery, for which he received an effective sentence of five years’ imprisonment. See Tenn. Code Ann. §§ 39-14-403, 39- 13-505. On appeal, the Defendant argues that (1) the trial court erred in allowing the State to introduce extrinsic evidence to impeach his statement to police, (2) the evidence is insufficient to support his convictions, and (3) the trial court improperly sentenced him. Following our review, we affirm the judgments of the trial court.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              06/05/19            
                      
                          
                      
                          
                  
                        
                      
              Teddy Ogle v. State of TennesseeE2018-01522-CCA-R3-PCAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge Rex H. OgleMessrs. Teddy and Terry Ogle filed a “Petition for Rule 60(b)” relief. Mr. Ronnie Ray Ogle filed a “Petition for Writ of Habeas Corpus and/or Motion for Correction of [I]llegal Sentence and Amended Motion for Relief from Judgment.” The trial court treated the pleadings as petitions for post-conviction relief and dismissed the petitions because they were filed well after the statute of limitations. This court consolidated the three appeals. After a thorough review of the record and applicable law, we affirm the judgments of the trial court.            
                      
              Jefferson County            
                      
              Court of Criminal Appeals             
                      
              06/04/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Gary BarnettW2018-01027-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge John Wheeler CampbellFollowing a trial, a Shelby County jury found Defendant, Gary Barnett, guilty of rape of a child and aggravated sexual battery, for which he received an effective sentence of thirty years’ incarceration in the Tennessee Department of Correction. On appeal, Defendant contends that: (1) the trial court erred in admitting into evidence the forensic interview of the victim; (2) the trial court erred in restricting defense counsel’s cross-examination of two witnesses; and (3) the evidence is insufficient to support his convictions. Following a thorough review, we affirm the judgments of the trial court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              06/03/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Gregory Scott WilburnE2018-01325-CCA-R3-CDAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge Tammy M. HarringtonThe Defendant, Gregory Scott Wilburn, appeals as of right from the Blount County Circuit Court’s revocation of his probation. The Defendant contends that the trial court abused its discretion in ordering the remainder of his sentence to be served in confinement. Discerning no error, we affirm the judgment of the trial court.            
                      
              Blount County            
                      
              Court of Criminal Appeals             
                      
              06/03/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Jasper L. VickW2018-01616-CCA-R3-CDAuthoring Judge: Judge Alan E. GlennTrial Court Judge: Judge Paula L. SkahanThe pro se Appellant, Jasper L. Vick, appeals the Shelby County Criminal Court’s dismissal of his motion to correct an illegal sentence. The State has filed a motion requesting that this Court affirm the lower court’s denial of relief pursuant to Rule 20 of the Rules of the Court of Criminal Appeals. Because the Appellant has failed to establish that his sentence is illegal, we conclude that the State’s motion is well-taken. Accordingly, we affirm the summary dismissal of the motion.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              05/31/19            
                      
                          
                      
                          
                  
                        
                      
              Joseph E. Suggs v. State of TennesseeM2018-01147-CCA-R3-HCAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge Angelita Blackshear DaltonThe Petitioner, Joseph E. Suggs, acting pro se, appeals from the summary dismissal of his petition for writ of habeas corpus by the Davidson County Criminal Court, claiming his judgments of conviction for rape of a child are void because they lack the requiredfile-stamp. After review, we affirm the judgment of the habeas corpus court.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              05/28/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee vs. Michael FreemanE2018-00778-CCA-R3-CDAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge Steven W. SwordThe Defendant, Michael Freeman, appeals his second degree murder conviction, alleging that (1) the trial court improperly denied his motion to suppress his police statement because he made an unequivocal request for a lawyer; (2) that the evidence was insufficient to support his conviction; and (3) that the trial court erred by issuing a flight instruction to the jury. Following our review of the record and the applicable authorities, we conclude that the Defendant’s issues do not entitle him to relief. Accordingly, the judgment of the trial court is affirmed.&nbsp;            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              05/24/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Jeremy GarrettW2018-01223-CCA-R3-CDAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge Glenn Ivy WrightIn 2007, a Shelby County jury found the Defendant, Jeremy Garrett, guilty of aggravated robbery, felony murder, and especially aggravated robbery. In 2018, the Defendant filed a motion pursuant to Tennessee Rule of Criminal Procedure 36.1, seeking to correct an illegal sentence. The trial court summarily denied Rule 36.1 relief. On review, having determined that the Defendant has failed to state a colorable claim for Rule 36.1 relief, we affirm the judgment of the trial court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              05/23/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Paul Thomas Welch, Jr.E2018-01356-CCA-R3-CDAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge Sandra DonaghyThe State appeals the Monroe County Criminal Court’s dismissal of the charge of vehicular assault by intoxication against the defendant, Paul Thomas Welch, Jr. Because the trial court erred by dismissing the charge, we vacate the trial court’s order, reinstate the indictment charging the defendant with vehicular assault by intoxication, and remand the case for further proceedings consistent with our opinion.            
                      
              Monroe County            
                      
              Court of Criminal Appeals             
                      
              05/23/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Christopher Christian PadgettE2018-00447-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Thomas C. GreenholtzDefendant, Christopher Christian Padgett, was convicted for felony murder and especially aggravated robbery, and the trial court imposed an effective sentence of life in prison. On appeal, Defendant argues that the trial court erred when it allowed the State to introduce indirect hearsay evidence regarding an eyewitness’s description of the suspect’s shoes in violation of the rules of evidence and the Confrontation Clause. Additionally, Defendant argues that the trial court erred when it allowed the State to introduce a recording of Defendant’s conversation with his mother taken at the police service center because the statements were taken in violation of Defendant’s reasonable expectation of privacy protected by the Tennessee and United States Constitutions. After a review, we hold that the trial court committed harmless error by admitting the indirect hearsay description of the suspect and that Defendant is not entitled to plain error relief on the other issues raised. Thus, we affirm the judgment of the trial court, but we remand this case for entry of judgment documents in Counts Two and Four.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              05/23/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Cameron Neil BrownM2018-00943-CCA-R3-CDAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge Dee David GayThe petitioner, Cameron Neil Brown, appeals the denial of his motion, filed pursuant to Tennessee Rule of Criminal Procedure 36.1, to correct what he believes to be an illegal sentence. Discerning no error, we affirm.            
                      
              Sumner County            
                      
              Court of Criminal Appeals             
                      
              05/23/19            
                      
                          
                      
                          
                  
                        
                      
              Michael White v. Russell Washburn, WardenM2018-01815-CCA-R3-HCAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge John D. Wootten, Jr.The petitioner, Michael White, appeals the summary dismissal of his petition for writ of habeas corpus, which petition challenged his 2005 Marshall County Circuit Court jury convictions of rape. Discerning no error, we affirm.            
                      
              Trousdale County            
                      
              Court of Criminal Appeals             
                      
              05/22/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Michael RimmerW2017-00504-CCA-R3-DDAuthoring Judge: Judge Robert H. Montgomery, Jr.Trial Court Judge: Judge Chris CraftThe Defendant, Michael Rimmer, was convicted by a Shelby County jury of first degree premeditated murder, first degree felony murder, and aggravated robbery. T.C.A. §39-13-202(1), (2) (Supp. 1998) (first degree murder), §39-13-402 (1997) (aggravated robbery). The trial court merged the felony murder conviction into the premeditated murder conviction. The jury sentenced the Defendant to death for the first degree murder conviction, and the trial court sentenced him to eighteen years for the aggravated robbery conviction and ordered it to be served consecutively to the sentence for the murder conviction. On appeal, the Defendant contends that: (1) the evidence is insufficient to support his convictions for first degree murder and aggravated robbery; (2) the trial court erred in denying his motion to dismiss the felony murder charge; (3) the trial court erred in denying his motion to suppress DNA evidence; (4) the trial court erred in not striking the State’s opening statement or declaring a mistrial based on a comment made by the State; (5) the trial court erred in admitting evidence of the Defendant’s prior convictions; (6) the trial court erred in limiting the testimony of William Baldwin; (7) the trial court erred in admitting a drawing of the backseat of the Honda the Defendant was driving when he was arrested; (8) the trial court erred in finding James Allard was unavailable and allowing his testimony from the previous trial to be entered into evidence; (9) the trial court erred in admitting hearsay testimony through witness Rhonda Bell; (10) the trial court erred in allowing Chris Ellsworth to display his scars to the jury; (11) the trial court erred in allowing hearsay testimony through witness Tim Helldorfer; (12) the trial court erred in limiting the testimony of Tim Helldorfer regarding a photograph identification and the release of the Honda from police custody; (13) the trial court erred in allowing Joyce Carmichael to testify about Tommy Voyles; (14) the trial court erred in admitting previous testimony of deceased or otherwise unavailable witnesses; (15) the trial court erred in admitting Richard Rimmer’s prior statement and related exhibits as substantive evidence; (16) the trial court erred in limiting the testimony of Kenneth Falk; (17) the trial court erred in limiting the testimony of Marilyn Miller; (18) the trial court erred in excluding documents relating to a lawsuit involving the Shelby County Jail; and&nbsp;(19) the trial court erred in applying an aggravating factor and imposing a consecutive sentence for the aggravated robbery conviction. Following our review, we affirm the judgments of the trial court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              05/21/19            
                      
                          
                      
                          
                  
                        
                      
              Adrian Wilkerson v. Michael A. Parris, Warden et al.E2018-01440-CCA-R3-HCAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Jeffrey Hill Wicks The Appellant, Adrian D. Wilkerson, appeals as of right from the Morgan County Criminal Court’s judgment summarily denying his petition for a writ of habeas corpus. The State has filed a motion to dismiss this appeal due to an untimely notice of appeal or, alternatively, affirm by memorandum opinion the judgment of the habeas corpus court. Following our review, we conclude that the interest of justice requires a waiver of the timely filing of the notice of appeal and, therefore, deny the State’s motion to dismiss. We further conclude, however, that an opinion in this case would have no precedential value and affirm the judgment of the habeas corpus court pursuant to Rule 20 of the Rules of the Tennessee Court of Criminal Appeals.            
                      
              Morgan County            
                      
              Court of Criminal Appeals             
                      
              05/21/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Ronnie WallsM2018-00903-CCA-R3-CDAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge Forest A. Durard, Jr.The Petitioner, Ronnie Walls, appeals from the Moore County Circuit Court’s denial of his pro se motion to correct an illegal sentence. In March 2013, the Petitioner entered guilty pleas to conspiracy to introduce contraband into a penal institution and attempt to introduce contraband into a penal institution and was sentenced as a Range II, multiple offender to concurrent terms of six years, with the balance to be served on community corrections after four months imprisonment. This sentence was ordered to be served consecutively to all unexpired sentences. In August 2014, a warrant was issued alleging the Petitioner violated his community corrections sentence. He later agreed that he had failed to comply with the terms of his community corrections sentence based upon a new arrest and other violations. On October 31, 2014, he entered a guilty plea to the community corrections violation and agreed to a two-year increase in his sentence. Nearly three years later, the Petitioner filed a pro se motion to correct an illegal sentence, claiming that he is entitled to relief pursuant to Rule 36.1 of the Tennessee Rules of Criminal Procedure because the trial court that accepted his guilty plea for his community corrections violation failed to advise him during the plea colloquy that he was entitled to a new sentencing hearing. The trial court denied relief, finding that the Petitioner failed to state a cognizable claim. Following our review, we affirm the judgment of the trial court.            
                      
              Moore County            
                      
              Court of Criminal Appeals             
                      
              05/21/19            
                      
                          
                      
                          
                  
            


      
    
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